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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )   Chapter 11
In re:                                                         )
                                                               )   Case No. 23-10051 (JKS)
                                                     1
GIGAMONSTER NETWORKS, LLC, et al.,                             )
                                                               )   (Jointly Administered)
                                   Debtors.                    )
                                                               )   Ref. Docket Nos. 68 and 114

           ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
             PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL FOR
               THE DEBTORS EFFECTIVE AS OF THE PETITION DATE

         Upon consideration of the application (the “Application”)2 of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) seeking authorization to employ and retain

Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”) as counsel for the Debtors; and upon:

(i) the Rule 2016 Statement; (ii) the Jones Declaration; and (iii) the Branning Declaration, which

were submitted concurrently with the Application; and upon the Supplemental Declaration of

Laura Davis Jones in Support of Debtors’ Application for Authorization to Employ and Retain

Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date

[Docket No. 114]; and the Court being satisfied, based on the representations made in the

Application, the Rule 2016 Statement, the Jones Declarations, and the Branning Declaration that

PSZ&J does not represent or hold any interest adverse to the Debtors or the Debtors’ estates with

respect to the matters upon which it is to be engaged, and that PSZ&J is disinterested as that term

is defined under section 101(14) of the Bankruptcy Code, and as modified by section 1107(b) of


1   The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
    Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’
    business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2   Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.



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the Bankruptcy Code, and that the employment of PSZ&J is necessary and in the best interests of

the Debtors and the Debtors’ estates; and that the district court has jurisdiction over the Application

under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the Debtors’ notice of the Application and opportunity for a hearing on the Application

were appropriate and no other notice need be provided; and the Court having reviewed the

Application; and after due deliberation and good and sufficient cause appearing, IT IS HEREBY

ORDERED THAT:

        1.       The Application is granted as set forth herein.

        2.       Pursuant to section 327(a) of the Bankruptcy Code, the Debtors are authorized to

employ and retain the Firm as counsel, effective as of the Petition Date, on the terms set forth in

the Application, the Rule 2016 Statement, the Jones Declaration, and the Branning Declaration.

        3.       The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Chapter 11 Cases in compliance with

sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules,

Local Rules, and any other applicable procedures and orders of the Court. PSZ&J shall make a

reasonable effort to comply with the U.S. Trustee’s requests for information and additional



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disclosures as set forth in the Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases

Effective as of November 1, 2013 (the “Revised UST Guidelines”), both in connection with this

Application and any interim and final fee application to be filed by PSZ&J in the Chapter 11 Cases.

        4.       The Debtors are authorized to take all steps necessary or appropriate to carry out

the relief granted in this Order.

        5.       The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




                                                             J. KATE STICKLES
       Dated: February 9th, 2023
                                                             UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware


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